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Court filing Record
Court: US District Court Idaho
Date: 03/01/2021

Case No.: New

Inmate Name: Marchant, Bruce

Inmate No.: 25588

Document Title: Petition for writ of habeas corpus

Total Pages 13

Inmate Verification of page count signature:_Filed without inmate review___

Document_1__ of 4.

 

 

 
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Reve Men Merclunr 2S SHA

(full name/prison +r number) -
(ASC BB" Box Sl Boise, DAO
63707

 

 

(complete mailing address)

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

Groce Nery Moy Cony Case No.

(to be assigned by Court}

Petitioner,
PETITION FOR WRIT OF HABEAS

CORPUS
(§ 2254 - state custody)

Shove of (WAKO _

Respondent (Warden).

 

 

I request that the United States District Court grant my Petition and issue a Writ of Habeas
Corpus to Respondent based on the following grounds.
I. CONVICTION OR SENTENCE BEING CHALLENGED:
1. (a) Name and location of court that entered the judgment of conviction being challenged:
NOK Cou ok
(b) Criminal docket or case number (if you know):
(c) Date of the judgment of conviction (if you know, DCC. ! LO ( A
(d) Date of sentencing: Bec, ZONA
(e) Length of sentence: L_\ fe. “

2. In this case, were you convicted of more than one count or crime? OC} Yes BBNo

3. Identify all counts/erimes of which you were convicted/sentenced in this case: \ st ’b es Cee Moen

 

Petition for Writ of Habeas Corpus - p. 1 (Rev. 10/24/2011)

 

 
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4. (a) What was your plea? (Check one) © Not Guilty Guilty ©) A}ford Plea or No Contest
5. If you went to trial, what kind of trial did you have? (Check one) OFury SHIudge only

i. DIRECT APPEAL

1. Did you file a direct appeal from the judgment of conviction? Dyes ONo

2. If you did appeal, provide the following:

(a) Name of court that heard your appeal: ASK Courky Ry Skrick Cob a

(b) Docket or case number (if you know):

 

(c) Result: Dis maisseah
(d) Date of result (if you know):
(e) Grounds raised: \ ode hive dss clanc-<_ of Cans Aci

 

 

 

(f) If the Idaho Court of Appeals decided your appeal, did you file a petition for review with the
Idaho Supreme Court? OvYes ino Oot applicable. If yes, answer the following:

(1) Result:

 

(2) Date of result (if you know):

 

(3) Grounds raised:

 

 

 

Petition for Writ of Habeas Corpus - p.2 (Rev, 10/24/2011}

 
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WW. FIRST POST-CONVICTION ACTION

1 If you filed any post-conviction petition, application, or motion concerning this judgment of
conviction or sentence in any state court, give the following information:
(a) Name of court: Od COUR Disc ck COUN,

(b) Date of filing Gf you know):

 

(c) Type of proceeding: J UIs <<

(4) Grounds raised: _\ ro Geek ve hs Uke nce ot Caunsil

 

 

a
2. Did you file an appeal? Oves ‘No If you did appeal, answer the following:
(a) Name of court that heard your appeal: &

(b) Docket or case number (if you know):

 

(c) Result:

 

(d) Date of result (if you know):

 

(e) Grounds raised:

 

 

 

(2) If the Idaho Court of Appeals decided your appeal, did you file a petition for review with the
Idaho Supreme Court? Oves So Qwot applicable. If yes, answer the following:

(1) Result:

 

(2) Date of result (if you know):

 

(3) Grounds raised:

 

 

 

Petition for Writ of Habeas Corpus - p.3 (Rev. 10/24/2011)

 

 
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IV. SECOND POST-CONVICTION ACTION
L. If you filed a second post-conviction petition, application, or motion concerning this judgment of

conviction in any state court, give the following information:

 

(a) Name of court:

 

(b) Date of filing (if you know):

 

(c) Type of proceeding:

 

(d) Grounds raised:

 

 

 

2. Did you file an appeal? ()Yes No Ifyou did appeal, answer the following:
t p

(a) Name of court that heard your appeal:

 

(b) Docket or case number (if you know):

 

(c) Result:

 

(d) Date of result (if you know):

 

(ce) Grounds raised:

 

 

 

(f) If the Idaho Court of Appeals decided your appeal, did you file a petition for review with the
Idaho Supreme Court? Oves ‘S No ONot applicable. Ifyes, answer the following:

(1) Result:

 

(2) Date of result (if you know):

 

(3) Grounds raised:

 

 

Petition for Writ of Habeas Corpus - p. 4 (Rev. 10/24/2011}

 
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V. THIRD POST-CONVICTION ACTION
1. If you filed a third post-conviction petition, application, or motion concerning this judgment of
conviction in any state court, give the following information:

(a) Name of court:

 

(b) Date of filing (if you know):

 

(c) Type of proceeding:

 

(d) Grounds raised:

 

 

2. Did you file an appeal? OYes No Ifyou did appeal, answer the following:

(a) Name of court that heard your appeal:

 

 

(b) Docket or case number (if you know):

 

(c) Result:

 

(d) Date of result (if you know):

 

(e) Grounds raised:

 

 

(f) If the Idaho Court of Appeals decided your appeal, did you file a petition for review with the
Idaho Supreme Court? Oves Bro OQ) Not applicable. Ifyes, answer the following:

(1) Result:

 

(2) Date of result (if you know):

 

(3) Grounds raised:

 

 

VI. CLAIMS FOR WHICH RELIEF IS REQUESTED IN THIS PETITION

For this petition, state every claim for which you allege that you are being held in violation of the
Constitution, laws, or treaties of the United States. Attach additional pages if you have more than four
claims. State the legal basis/federal ground for your claim very briefly. Do not make extensive legal
arguments on the petition form, but you may file a legal memorandum or brief either (1) with your

Petition for Writ of Habeas Corpus - p. 5 (Rev, 10/24/2011}

 
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petition or (2) as your reply to the respondent's motion for summary dismissal or answer. Importantly,
your petition should include all of the facts that support your claim.

1. First Claim
(a) Legal Basis: \ Klee Lee Ass hiance of Couns |

 

(State federal ground for your claim by citation or explanation in words.)

(b) Supporting Facts: Cocork cacs Glad a
—rreelde of Destroyed Muy

Lou SU (te

 

 

 

 

 

 

 

 

 

(c) Did you bring this claim before the Idaho Supreme Court? © Yes Yio

(1) If you answered yes, state whether you brought the claim on direct appeal or in a

post-conviction application, petition, or motion:

 

 

(2) If you did not bring this claim before the Idaho Supreme Court, explain why:

 

 

Petition for Writ of Habeas Corpus - p. 6 (Rev. 10/24/2011)

 
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2. Second Claim :

(a) Legal Basis: Chor at \noula) LA been Invalorka C 4

(State federal ground for your claim by citation or explanation in words.) Morrto. ;

(b) Supporting Facts: Deke csives Ce (3 AS City
Oro maiged acherion:

 

 

 

 

 

 

 

 

 

 

 

 

 

(c) Did you bring this claim before the Idaho Supreme Court? OQ Yes Bno

(1) If you answered yes, state whether you brought the claim on direct appeal or in a

post-conviction application, petition, or motion:

 

 

(2) If you did not bring this claim before the Idaho Supreme Court, explain why:

 

 

Petition for Writ of Habeas Corpus - p.7 (Rev, 10/24/2011)

 

 
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3. Third Claim
Qoice. LAY Beredtyes Tah due K lr.

(a) Legal Basis:
(State federal ground for your claim by citation or explanation in words.)

 

(b) Supporting Facts: CS XA kao eC. one OO Carnnctoe
“Are kao Me Ke conkss AMnot
L eanuload is ex pcalbalion.

 

 

 

 

 

 

 

 

 

 

 

(c) Did you bring this claim before the Idaho Supreme Court? Oves YN 0
(1) If you answered yes, state whether you brought the claim on direct appeal or ina

post-conviction application, petition, or motion:

 

 

(2) If you did not bring this claim before the Idaho Supreme Court, explain why:

 

 

Petition for Writ of Habeas Corpus - p. 3 (Rev, 10/24/2011)

 

 
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Fourth Claim

(a) Legal Basis:

 

(State federal ground for your claim by citation or explanation in words.)

(b) Supporting Facts:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(c) Did you bring this claim before the Idaho Supreme Court? Q'Yes CQ)No

(1) If you answered yes, state whether you brought the claim on direct appeal or in a

post-conviction application, petition, or motion:

 

 

(2) If you did not bring this claim before the Idaho Supreme Court, explain why:

 

 

Petition for Writ of Habeas Corpus - p. 9 (Rev. 10/24/2011}

 

 
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VL OTHER FEDERAL COURT ACTIONS RELATED TO CONVICTION OR SENTENCE

If you have previously filed any type of petition, application, or motion in federal court regarding
the conviction or sentence, state the name and location of the court, the docket or case number, the type
of proceeding, the issues raised, the date of the court's decision, and the result. Attach a copy of the
decision if possible.

 

 

Vil. PENDING COURT ACTIONS RELATED TO CONVICTION OR SENTENCE

If you have any petition or appeal now pending (filed and not decided yet) in any court, either
state or federal, for the judgment you are challenging, state the name and location of the court, the
docket or case number, the type of proceeding, the issues raised, and the current status.

 

 

 

VUI. REQUEST FOR APPOINTMENT OF COUNSEL
I Odo Ns) do not request the appointment of counsel. I believe counsel is necessary to assist me

for the following reasons:

 

 

TX. PRAYER FOR RELIEF
Petitioner asks that the Court grant the following relief: Chronge Senbance— ‘eo
Wane o\G Reo, Manslapadie’ , and any other relief as justice so requires.

I declare (or verify) under penalty of perjury that the foregoing is true and correct, and that this

2r-ei-?)

Petition for Writ of Habeas Corpus was placed in the prison mailing system on
(month, date, pear)

2 ~BIee&]

(month, date, year)

Dike AQ fA anecbhnd

(signature of petitioner)

Executed (signed) on

 

Petition for Writ of Habeas Corpus - p. 10 (Rey, 10/24/2011)

 

 
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IDAHO DEPARTMENT OF CORRECTION
‘Grie vance ppeal Form

; Grie vance oD
Inmate’s tame Ar KCA Pork IDOC Num ber: ) SS EF
hstitution, Housing “nit, & Cell: ge id S O. Q¢ alg “ Date. 2° /7.-x/

Se Por. Rininistrative Use: Bes
Facility: Gievance Num ber: _
Date Collected: Grievance Category:

Date Forwarded to Inmate’s Previous Facility:
Nam e of Previous Facility:
Date Forwarded to Res ponder:

Level 1 Responder’s Name: Date Due: Received:
Level 2 Responders Name: Date Due: Received:
Final Gievance Decision: Date Sent to Inmate:

-Inmate Section

 

  
 

       

 

 

 

 

 

 

 

 

 

 

 

 

 

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fot sel LLY 2 gpl (ober Dns ag
a cei oF Hey

 

| have tried to solve this problem informally by: 3 @arée J A Cathey

 

4

 

 

 

U somipmigen } gt zt
| suggest the following solution for the problem: 7’ C” (Coe iz 4a tO
Wo fy | /

 

 

 

 

 

A
Inmate's signature: PYLE Le tein, J

[| Ppeal Date:
lam the for the following reason(s):

 

   

Inmate’s si

Appendix B
316.02.01.001
(Updated 6/4/18)

 

 

 
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IDAHO DEPART MENT OF CORRECTION
Grievance Transmittal Form

Facility; IMSI Date: 02/22/21
To: Inmate Name:_Marchant IDOC Number: 25588
institution, Housing Unit, &Cell: IMST Ci ~ 12a

From:1T. Young M3 Grievance Coordinator C1 Other

The attached form is being returned without action being taken because:

C1] You did not submit the grievance within 30 days of the incident.

(1 You did not submit the appeal within 14 days of the review authority's decision.
(] The form is not handwritten (it cannot be typed).

C] The form is not legible.

[4 You did not include with the grievance an answered or signed Inmate Concern Farm(s) that shows
your attempts to resolve the issue informally with applicable staff.

[1 You have three (3) open/active grievances (including appeals) in the system, which is the maximum
number you are allowed.

C] You have raised more than one specific issue.

M@ The grievance does not contain a reasonable and clear description of the problem.

[] The grievance does not describe how you tried to resolve the issue informally.

Mi The grievance does not contain specific information such as dates, places, and names.

LJ Your description of the problem is not written in or within the appropriate area on the form. (Written
comments must not exceed the space designated for writing comments.)

(] The grievance is not written in a civil, concise, or understandable language; or it is not to the point.
(Grievances cannot contain vague issues/complaints, personal attacks, or harass staff members. }

L] You did not suggest a solution.
LJ You did not sign the form.
[J You cannot submit your appeal until the grievance decision is rendered.

["] The issue was previously grieved under grievance number:

 

[ The issue/complaint is not grievable as indicated in standard operating procedure 316.02.01.001,
Grievance and Informal Resolution Procedures for Inmates, and must be addressed as follows:

 

 

LJ You cannot grieve the length of your sentence or a decision that is under the jurisdiction of the court or
Idaho Commission of Pardons and Parole.

CI This problem is beyond the Idaho Department of Correction’s (IDOC’s) control.
[] Other (must be approved by the review or appellate authority):

 

 

 

Appendix D
316.02.01.001
(Appendix last updated 6/04/18)

 
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IDAHO DEPART MENT OF CORRECTION a
Grievance Transmittal Form
Facility: IMSI Date: 02/25/21
To: Inmate Name: Marchant IDOC Number: 25588

 

Institution, Housing Unit, & Cell: IMSI Cl — 12a

From: T. Young 1B Grievance Coordinator UL Other

The attached form is being returned without action being taken because:

Wi You did not submit the grievance within 30 days of the incident.-- Tsou ew BOW
CJ You did not submit the appeal within 14 days of the review authority's decision.

L} The form is not handwritten (it cannot be typed).

LJ The form is not legible.

[4 You did not include with the grievance an answered or signed /nmate Concern Form(s) that shows
your attempts to resolve the issue informally with applicable staff.

L] You have three (3) open/active grievances (including appeals) in the system, which is the maximum
number you are allowed.

L] You have raised more than one specific issue.

C1 The grievance does not contain a reasonable and clear description of the problem.

L] The grievance does not describe how you tried to resolve the issue informally.

LJ The grievance does not contain specific information such as dates, places, and names.

CJ] Your description of the problem is not written in or within the appropriate area on the form. (Written
comments must not exceed the space designated for writing comments.)

CJ The grievance is not written in a civil, concise, or understandable language; or it is not to the point.
(Grievances cannot contain vague issues/complaints, personal attacks, or harass staff members.)

[1 You did not suggest a solution.
C1 You did not sign the form.
[1] You cannot submit your appeal until the grievance decision is rendered.

[1 The issue was previously grieved under grievance number:

 

EJ The issue/complaint is not grievable as indicated in standard operating procedure 316.02.01.004,
Grievance and Informal Resolution Procedures for inmates, and must be addressed as follows:

 

 

C1 You cannot grieve the length of your sentence or a decision that is under the jurisdiction of the court or
Idaho Commission of Pardons and Parole.

C1 This problem is beyond the Idaho Department of Correction’s (IDOC’s) control.
[1 Other (must be approved by the review or appellate authority):

 

 

Appendix D
316.02.01.001
(Appendix last updated 6/04/18)

 

 
